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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION


       JAMES P. LARWETH, an individual,

                   Plaintiff/Counter-Defendant,
                                                         CASE NO: 6:18-cv-823-Orl-41DCI
       vs.

       MAGELLAN HEALTH, INC., a Delaware
       corporation,

                   Defendant/Counter-Plaintiff.


        PLAINTIFF/COUNTER-DEFENDANT JAMES P. LARWETH’S RESPONSE IN
      OPPOSITION TO DEFENDANT/COUNTER-PLAINTIFF MAGELLAN’S MOTION
       TO COMPEL PLAINTIFF/COUNTER-DEFENDANT TO PROVIDE COMPLETE
       RESPONSES TO INTERROGATORY NOS. 12, 14, AND 17, AND TO PRODUCE
           DOCUMENTS RESPONSIVE TO REQUEST NOS. 8, 11, 17, 18, AND 20

             Plaintiff/Counter-Defendant James P. Larweth, through undersigned counsel, files this

  response in opposition to Magellan Health, Inc.’s Motion to Compel him to Provide Complete

  Responses to Interrogatory Nos. 12, 14, and 17, and to Produce Documents Responsive to

  Request Nos. 8, 11, 17, 18, and 20 (“Motion”) (DE 45) and in support states:1

                                             Introduction

             Larweth does not dispute that Magellan is entitled to many of the documents and

  responses it seeks. However, disclosure of this information—the existence and contents of

  commercial contracts to which Larweth is a party—is prohibited by various confidentiality

  provisions contained within those agreements.



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   James P. Larweth is referred to as “Larweth”; Magellan Health, Inc. is referred to as
  “Magellan”; Larweth and Magellan are collectively referred to as the “Parties.”
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         The Parties have worked for months to establish a confidentiality agreement that

  satisfactorily protects both of their interests. There have been no fewer than seven versions of

  the confidentiality agreement exchanged between the Parties. With each round of revisions, it

  appeared that the Parties were closing in on an agreement. Those negotiations were ongoing

  when Magellan filed its Motion and remain so as of the date of this filing. Despite Magellan’s

  instant Motion, Larweth expects the Parties to be able to come to a satisfactory agreement in

  short order. As of February 28, 2019—the date of this filing—at 8:00 P.M., Larweth has

  provided Magellan with a version of the confidentiality agreement with all of Magellan’s

  revisions agreed to and accepted. All that remains is for Magellan to agree that it is in effect.

  Amended Responses to the at issue interrogatories and requests for production will be provided

  upon agreement by Magellan to the confidentiality agreement.

         Further, over the course of months, the Parties met and conferred for several hours

  regarding Magellan’s Requests for Production and Interrogatories. Following these discussions,

  Larweth provided Amended Responses and Objections to Magellan’s Interrogatory Nos. 1, 2,

  4-6, and 8-17 on January 18, 2019, and his Second Amended Responses and Objections to

  Magellan’s Interrogatory Nos. 13, 18, and 19 on January 24, 2019. On January 29, 2019 and

  February 13, 2019, Larweth produced documents, which included text messages, emails, and

  spreadsheets.




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     I.       MEMORANDUM OF LAW

           a. Standard.

           The fulfillment of discovery obligations is generally handled by the parties with limited

  involvement by the district court. According to the Middle District guidelines, “[d]iscovery in

  this district should be practiced with a spirit of cooperation and civility.” Cute v. ICC Capital

  Mgmt., Inc., 2010 WL 11626590, at *1 (M.D. Fla. June 22, 2010) (quoting Middle

  District Discovery (2001) at 1). This “spirit of cooperation and civility” facilitates the intention

  that discovery is to proceed with minimal judicial supervision unless a dispute arises and one

  of the parties files a motion seeking judicial intervention. S.L. Sakansky & Assocs., Inc. v.

  Allied Am. Adjusting Co. of Fla., LLC, 2007 WL 2010860, *1 (M.D. Fla. Jul. 6, 2007). When

  such a dispute arises and judicial intervention is sought, the party resisting discovery bears the

  burden of demonstrating specifically how the objected-to request is unreasonable or otherwise

  unduly burdensome. See Fed. R. Civ. P. 33(b)(4); Panola Land Buyers Ass’n v. Shuman, 762

  F.2d 1550, 1559 (11th Cir. 1985); Gober v. City of Leesburg, 197 F.R.D. 519, 521 (M.D. Fla.

  2000). Ultimately, the decision to grant or deny a motion to compel is within the district

  court’s discretion. Curley v. Stewart Title Guaranty Co., 2018 WL 6829727, at *2 (M.D. Fla.

  Dec. 28, 2018) (citing Commercial Union Ins. Co. v. Westrope, 730 F.2d 739, 731 (11th Cir.

  1984).

           b. Magellan Mischaracterizes Larweth’s Position Regarding the At-Issue
              Information.

           At no point has Larweth outright refused to turn over confidential material. It is not

  now nor has it ever been Larweth’s position that the materials sought—explanations and

  documents reflecting his market activity—are not discoverable. Instead, Larweth has


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  consistently maintained that the overwhelming majority of information sought by the Motion

  will be provided upon the entry of a confidentiality agreement.

         Both Parties agree that a confidentiality agreement is necessary given the nature of the

  documents to be produced. Conti v. Nat’l City Mortgage Co., 2009 WL 10705550, at *1 (M.D.

  Fla. Nov. 13, 2009) (stating that “confidentiality agreements can be useful tools to aid in the

  promotion of discovery”). Both Parties have diligently negotiated the terms thereof. As of the

  time of this filing, Larweth has agreed to Magellan’s latest revisions without proposing any

  further revisions of his own and is waiting for Magellan’s final confirmation and acceptance.

  As such, so long as Magellan provides its confirmation and does not have additional revisions,

  Larweth’s concerns regarding the production of certain confidential documents without a

  confidentiality agreement in place have been adequately addressed and the documents withheld

  pursuant to those objections will be produced in short order with the limited exception

  discussed further below.

      c. Larweth’s Second Amended Interrogatory Responses to Interrogatory Nos. 12,
         14, and 17 Will be Amended Again Following the Entry of a Confidentiality
         Order.

         Magellan’s suggestion that Larweth’s responses to its Interrogatories Nos. 12, 14, and

  17 are aimed at hiding his market activity strain credulity. Larweth’s responses, cited in

  Magellan’s Motion, and correspondence to Magellan’s counsel (since July 2018)

  unequivocally make clear that he is competing. Further, during his deposition, Larweth

  disclosed no less than ten entities with which he has engaged in or attempted to engage in

  business with since leaving Magellan. Plaintiff’s responses to interrogatories 12, 14, and 17

  will be amended to provide all information withheld pursuant to the confidentiality objections



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  following entry of the confidentiality agreement between the parties. No information will be

  withheld on the basis of confidentiality in response to these interrogatories.

      d. Amended Responses to Magellan’s Request Nos. l, 8, 11, 17, 18, and 20 Will be
         Provided Pursuant to Entry of a Confidentiality Agreement.

         Again, the suggestion that Larweth is refusing to turn over information in order to delay

  proceedings or gain some type of unfair advantage is false. Larweth had no issue disclosing

  his competition in the months leading up to Magellan’s Motion. Larweth has specifically

  identified a number of entities with whom he and Magellan are competing for business. To the

  extent that specific responses to Magellan’s Requests remain, documents which are currently

  being withheld pursuant to confidentiality objections, with limited exception, will be provided

  in short order following Magellan’s agreement to the confidentiality which, again, as of the

  time of this filing has not been agreed to.

         As stated above, certain materials exchanged by Larweth (through one of his companies)

  and another entity which competes with Magellan, which are arguably responsive to Requests

  18 and 20, are protected by a confidentiality agreement. The third party has not consented to

  the disclosure of such documents to Magellan and Larweth is obligated to honor that agreement

  until the Court orders otherwise. Larweth has been open with Magellan regarding these

  obligations and, to be clear, does not oppose such an order, but requests that the third parties

  be given a reasonably opportunity to seek protection from this Court before such materials are

  produced to Magellan.




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      e. Larweth Has Offered to Allow an Additional Deposition of Proper Scope
         Following Full Production.

         Magellan chose to take the deposition of Larweth despite having full knowledge of

  the above referenced confidentiality issues and knowing that production of all responsive

  materials was not yet complete. Larweth suggested that Magellan reserve time to address

  these issues during a continuation of his deposition on a separate date following resolution of

  these issues, but they refused. Instead, Magellan filed its Motion asking the Court to allow it

  to re-depose Larweth prior to even taking his deposition and hearing what he had to say.

  Magellan then proceeded to take a full seven (7) hour deposition of Plaintiff on February 19,

  2019. Despite this, Larweth has offered to allow the continuation of his deposition, for three

  (3) hours, to occur within fifteen (15) days of the confidentiality issues being resolved. As of

  8:00 p.m. on February 8, 2019, Magellan has not stated its position on this offer.

      f. Magellan is not entitled to its attorney fees in connection with its Motion

      Even if this Court grants Magellan’s Motion, it should not be awarded fees under Federal

  Rule of Civil Procedure 37 as Larweth’s position regarding the confidentiality agreements

  with third parties is “substantially justified.” See Fed. R. Civ. P. 37(a)(5)(A)(ii).

      Plaintiff’s confidentiality objections are premised on agreements between he and third

  parties and the reasonable belief that the confidentiality agreement is nearing completion. See

  Trahan v. Sandoz Inc., 2015 WL 12857088, at *1 (M.D. Fla., Sept. 24, 2015) (denying award

  of fees where it “appear[ed] that reasonable people could differ as to the appropriateness of

  [party’s] objections”). Throughout the process of negotiating the confidentiality agreement,

  Plaintiff has repeatedly indicated his willingness to provide the vast majority of responsive

  documents and information immediately after a confidentiality agreement is entered or he is


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  ordered to do so by this Court. Plaintiff has been open with Defendant’s counsel that the

  documents and information at issue are subject to confidentiality provisions with third-parties

  preventing the disclosure without adequate assurances that the documents and information

  will be properly protected. To that end, the Parties have been negotiating the terms of a

  confidentiality agreement to ensure that it provides the proper procedures to protect the

  confidentiality of certain documents and information. The Parties are very close to reaching,

  and likely have reached (as of the time the Court is reading this motion), an agreement on the

  terms of the confidentiality agreement. As such, Magellan’s Motion was in large part

  premature. Further, as Plaintiff’s objections are and were substantially justified and he should

  not be sanctioned for his reasonable objections.

     II.        CONCLUSION

           For the reasons set forth above, Larweth respectfully requests that the Court enter an

  Order that:

                1. Larweth’s deposition may be continued for up to three (3) hours, to occur within

                   fifteen (15) days of the Court’s order on this Motion and/or entry of the

                   confidentiality agreement between the parties, whichever is later;

                2. granting any third parties who are potentially impacted by Magellan’s requested

                   relief, ten (10) days to seek appropriate protection from this Court, before

                   Larweth is required to produce responsive materials subject to the

                   confidentiality agreement entered by the parties; and

                3. that otherwise denies Magellan’s Motion in its entirety.




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  Dated: February 28, 2019                               Respectfully submitted,

                                                         By: /s/ Christopher Prater
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                                                         Defendant, James P. Larweth

                             CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing has been served
  via e-mail to all counsel of record in this action on February 28, 2019.

                                                         By: /s/ Christopher Prater
                                                         Christopher S. Prater




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